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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ERIC THORNTON,                                         Civil Action File No.

            Plaintiff,
v.

WAL-MART STORES EAST, LP,

            Defendant.
                                              /

     RENEWAL COMPLAINT AND DEMAND FOR TRIAL BY JURY

      COMES NOW Plaintiff, ERIC THORNTON and states his Renewal
Complaint against Defendant as follows:

                         PARTIES AND JURISDICTION

      This is a renewal of an action previously filed in the State Court of
Fulton County under Civil Action File Number 19-C-01016-S4 with Eric
Thornton as Plaintiff and Wal-Mart Stores East, LP as Defendant.           Said
previous action was filed on February 14, 2019. On March 11, 2019 this action
was removed to the United States District Court, Northern District of Georgia,
Atlanta Division under Civil Action File Number 1:19-CV-01128-ELR.
Defendant Wal-Mart Stores East, LP was served on February 22, 2019.
Defendant was properly served with process and/or acknowledged service, and
Plaintiff voluntarily dismissed the previous action without prejudice on
December 29, 2020. The previous action was filed within two years of the
incident in question, was not dismissed on its merits, was not a void action,
and involved substantially the same cause of action as is being asserted in this
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Complaint, which is being filed within six months of the dismissal of the
previous action. All costs of the previous action have been paid, and the
previous action had never been previously dismissed and re-filed. Plaintiff
thus has the right to bring this renewal action pursuant to O.C.G.A. § 9-2-61.
File-stamped copies of the Complaint, Affidavit of Service, and Dismissal
Without Prejudice are attached hereto as Exhibits “A”, “B”, and “C”,
respectively.

      1.       Plaintiff ERIC THORNTON (hereinafter “Plaintiff”), is a resident
of the State of Georgia.

      2.       At all times material to this action, Defendant WAL-MART
STORES EAST, LP (hereinafter “Defendant”) is a foreign for-profit
corporation licensed to do business in the State of Georgia. Defendant’s
registered agent is Corporation Process Company, located at 2180 Satellite
Boulevard, Ste. 400, Duluth, Gwinnett County, Georgia 30097. Defendant
Wal-Mart Stores East, LP may be served by delivering a copy of the Summons
and Complaint to that address.

      3.       At all times material hereto, Defendant was the owner and in
possession of that certain business located at 630 Collins Road, Lawrenceville,
Gwinnett County, GA 30046, open to the general public, including Plaintiff
herein.

      4.       On or about March 5, 2017, Plaintiff visited Defendant’s premises
located at the above address as a business invitee and/or guest.
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      5.      At said time and place, Plaintiff, ERIC THORNTON, was a
lawfully guest upon the premises of Defendant, who owed Plaintiff a
nondelegable duty to exercise reasonable care for his safety.

      COUNT I – CLAIM FOR PREMISES LIABILITY AGAINST
               DEFENDANT WAL-MART STORES EAST, LP

      6.      Plaintiff realleges and reasserts the allegations contained within
paragraphs one (1) through five (5) as if fully set forth herein.

      7.      At said time and place, Defendant owed Plaintiff duties to
maintain the premises in a reasonably safe condition, and to warn Plaintiff of
dangerous condition(s) on the premises.

      8.      At said time and place, Defendant breached these duties to
Plaintiff by committing one or more of the following omissions or
commissions:

      a) Negligently failing to maintain or adequately maintain the premises,
           thus creating a hazard to members of the public utilizing said
           premises, including Plaintiff herein, thus creating an unreasonably
           dangerous condition for Plaintiff;

      b) Negligently creating a slip and fall hazard to members of the public
           utilizing said premises, including Plaintiff herein, thus creating an
           unreasonably dangerous condition for Plaintiff;

      c) Negligently failing to inspect or adequately inspect the floors of the
           premises, as specified above, to ascertain whether there were any
           substances on or condition of the floor that constituted a hazard to
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   patrons, including Plaintiff herein, thus creating an unreasonably
   dangerous condition to Plaintiff;

d) Negligently failing to inspect or adequately warn Plaintiff of the
   danger of a slip and fall hazard, when Defendant knew or through the
   exercise of reasonable care should have known that said premises was
   unreasonably dangerous and that Plaintiff was unaware of same;

e) Negligently failing to inspect, repair or adequately correct the
   unreasonably dangerous condition of the premises, when said
   condition was either known to Defendant or had existed for a
   sufficient length of time such that Defendant should have known of
   same had Defendant exercised reasonable care;

f) Negligently failing to have adequate staff on duty and/or assigned to
   the task of inspecting and/or maintaining the floors for dangerous
   conditions;

g) Negligently failing to train and/or inadequately training its
   employees to inspect, maintain, and/or repair the floors for dangerous
   conditions;

h) Negligently failing to follow its own corporate policy(ies) regarding
   the dangerous condition;

i) Negligently failing to have adequate policies in place to identify
   dangerous conditions that may have accumulated on the floor despite
   knowledge of prior slip and falls at the subject location caused by
   similar dangerous conditions that were not timely identified by
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   Defendant’s employees and corrected/remedied or for which notice
   was given to guests at the premises;

j) Negligently failing to enforce its stated policy that all associates are
   responsible for inspecting floor surfaces for dangerous conditions
   and identifying and remedying said conditions and/or warning guests
   of said conditions;

k) Negligently failing to assign specific associates/employees to the
   task of solely monitoring the floors in the subject premises for
   dangerous conditions and correcting/remedying said conditions
   and/or warning guests of said conditions similar to the way in which
   specific associates/employees were assigned to the task of solely
   cleaning/sanitizing shopping carts and/or handbaskets or counting
   the number of guests entering/exiting the premises during the
   COVID-19 pandemic as safety precautions;

l) Negligently failing to act reasonably under the circumstances;

m) Negligently engaging in a mode of operations when Defendant knew,
   or should have known, that said mode of operations would result in
   dangerous conditions to the general public, including Plaintiff herein;

n) Negligently engaging in routine or regular practice of business that
   was not the reasonable custom of the community;

o) Negligently failing to install, maintain and provide a safe surface
   within the subject premises;
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      p) Negligently selecting and/or utilizing surface materials that failed to
           provide a non-slip surface for customers, including Plaintiff, when,
           based on Defendant’s experience, Defendant knew or should have
           known slip and falls were likely to occur on the premises; and

      q) Negligently selecting and/or utilizing floor surface material that
           failed to properly disperse or dissipate liquid substances, acting to
           make the floors slick like ice, when, based on Defendant’s
           experience, Defendant knew or should have known slip and falls were
           likely to occur on the premises; and

      9.      As a result, while Plaintiff was visiting Defendant’s business, he
slipped and fell on a slippery substance on the subject premises’ floor,
sustaining significant personal injuries.

      10.     As a direct and proximate result of the negligence of Defendant,
Plaintiff suffered bodily injury resulting in pain and suffering, disability,
disfigurement, permanent and significant scarring, mental anguish, loss of the
capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earning, loss of the ability to earn money,
and aggravation of previously existing condition.        The losses are either
permanent or continuing and Plaintiff will suffer the losses in the future.

      WHEREFORE, Plaintiff ERIC THORNTON, sues Defendant Wal-Mart
Stores East, LP for damages and demands judgment, plus interest and costs,
and demands trial by jury of all issues so triable.
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      COUNT II – CLAIM OF NEGLIGENCE UNDER THE NON-
   DELEGABLE DUTY DOCTRINE AGAINST DEFENDANT WAL-
                         MART STORES EAST, LP

      11.   Plaintiff reasserts and realleges the allegations contained within
paragraphs one (1) through ten (10) as if fully set forth herein.

      12.   At said time and place, Defendant owned, controlled, and/or
possessed the business premises.

      13.   At said time and place, and by virtue of its ownership, control,
and/or possession of the premises, Defendant owed Plaintiff a common law
non-delegable duty to maintain the premises in a reasonably safe condition.

      14.   At said time and place, Defendant breached these duties to
Plaintiff by committing one or more of the following omissions or
commissions:

      a)    Negligently failing to maintain or adequately maintain the floors
            on the premises, thus creating a hazard to members of the public
            utilizing said premises, including Plaintiff herein, thus creating an
            unreasonably dangerous condition for Plaintiff;

      b)    Negligently creating a slip and fall hazard to members of the
            public utilizing said premises, including Plaintiff herein, thus
            creating an unreasonably dangerous condition for Plaintiff;

      c)    Negligently failing to inspect or adequately inspect the floors, as
            specified above, to ascertain whether the premises’ floor, which
            was poorly maintained, constituted a hazard to patrons at the
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         subject premises, including Plaintiff herein, thus creating an
         unreasonably dangerous condition to Plaintiff;

d)       Negligently failing to inspect or adequately warn Plaintiff of the
         danger of the floor surface when Defendant knew or through the
         exercise of reasonable care should have known that said premises’
         floors were unreasonably dangerous and that Plaintiff was
         unaware of same;

e)       Negligently failing to correct and/or inspect and/or maintain and/
         repair and/or adequately correct and/or replace the unreasonably
         dangerous condition of the floor, when said condition was either
         known to Defendant or had existed for a sufficient length of time
         such that Defendant should have known of same had Defendant
         exercised reasonable care;

f)       Negligently failing to have adequate staff on duty and/or assigned
         to the task of inspecting and/or maintaining the floors for
         dangerous conditions;

g)       Negligently failing to train and/or inadequately training its
         employees to inspect, maintain, and/or repair the floors for
         dangerous conditions;

h)       Negligently failing to follow its own corporate policy(ies)
         regarding the dangerous condition;

i)       Negligently failing to have adequate policies in place to identify
         dangerous conditions that may have accumulated on the floors
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         despite knowledge of prior slip and falls at the subject location
         caused by transitory foreign substances or other dangerous
         conditions that were not timely identified by Defendant’s
         employees and corrected/remedied or for which notice was given
         to guests at the premises;

j)       Negligently failing to enforce its stated policy that all associates
         are responsible for inspecting floor surfaces for dangerous
         conditions and correcting/remedying said conditions and/or
         warning guests of said conditions;

k)       Negligently failing to enforce its stated policy of “don’t pass it up,
         pick/clean it up” with respect to dangerous conditions that
         accumulate on the floors of the subject premises;

l)       Negligently failing to assign specific associates/employees to the
         task of solely monitoring the floors on the subject premises for
         dangerous conditions and correcting/remedying said conditions
         and/or warning guests of said conditions similar to the way in
         which specific associates/employees were assigned to the task of
         solely cleaning/sanitizing shopping carts and/or handbaskets or
         counting the number of guests entering/exiting the premises
         during the COVID-19 pandemic as safety precautions;

m)       Negligently failing to act reasonably under the circumstances;

n)       Negligently engaging in a mode of operations when Defendant
         knew, or should have known, that said mode of operations would
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     result in dangerous conditions to the general public, including
     Plaintiff herein;

o)   Negligently engaging in routine or regular practice of business
     that was not the reasonable custom of the community;

p)   Negligently failing to install, maintain and provide safe floors
     within the subject premises;

q)   Negligently selecting and/or utilizing floor surface material that
     failed to provide a non-slip surface for customers, including
     Plaintiff, when, based on Defendant’s experience, Defendant
     knew or should have known trips were likely to occur on the
     premises;

r)   Negligently selecting and/or utilizing floor surface material that
     failed to properly disperse or dissipate liquid substances, acting to
     make the stairs slick like ice, when, based on Defendant’s
     experience, Defendant knew or should have known slips/trips
     were likely to occur on the premises; and

s)   Negligently selecting and/or utilizing floor surface material that
     failed to tolerate liquid substances and/or moisture, acting to make
     the stairs slick like ice, when, based on Defendant’s experience,
     Defendant knew or should have known liquid substances and/or
     moisture were likely to occur on the premises.
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      15.    As a result, while Plaintiff was visiting Defendant’s business, he
slipped and fell on a slippery substance on the floor of the subject premises,
sustaining significant personal injuries.

      16.    As a direct and proximate result of the negligence of Defendant,
Plaintiff suffered bodily injury resulting in pain and suffering, disability,
disfigurement, permanent and significant scarring, mental anguish, loss of the
capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earning, loss of the ability to earn money,
and aggravation of previously existing condition.       The losses are either
permanent or continuing and Plaintiff will suffer the losses in the future.

      WHEREFORE, Plaintiff ERIC THORNTON sues Defendant, for
damages and demands judgment plus interest and costs, and demands trial by
jury of all issues so triable.

      This 26th day of March, 2021.

                                            Respectfully Submitted,


                            /s/ Nigel Phiri
                            Georgia Bar Number 110935
                            Attorney for Plaintiff
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